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SIX LANDMARK SQUARE, STAMFORD, CT 06901-2704
T: 203.325.5000 | F: 203.325.5001
www.fdh.com

                                                                                 Tony Miodonka
                                                                                 203.325.5034
                                                                                 tmiodonka@fdh.com
May 31, 2024

VIA FEDERAL EXPRESS

David A. Lionetti
144 Nashville Road
Bethel, CT 06801

           RE: Cease and Desist Using Shoreline’s Good Will and Confidential Information


Dear David,

           As you are aware, this firm represents Shoreline Pools (“Shoreline”).

       As noted in my April 22, 2024 letter to you, Shoreline is aware that you have begun
employment and/or are otherwise involved with a newly formed competitor of Shoreline known
as Legacy Renovations and Pool Service (“Legacy”).

        It has come to Shoreline’s attention that you contacted its supplier, Classic Pool Tile &
Stone (“CPTS”), on or about May 28, 2024 and falsely represented to CPTS that you are currently
“the owner of Shoreline [P]ools out of Stamford CT which we [sic] order many products” and
“[w]e have branched off to a new name called legacy.”1 Your fraudulent attempt to pass yourself
off as Shoreline’s “owner” and your implication that Legacy is somehow affiliated with Shoreline
is unlawful and will not be tolerated.

        Your email to CPTS further referenced a specific lot number of 6”x12” Venice grotto
Rodio tile that Shoreline has purchased from CPTS in the past. The only reason you are aware of
this particular lot of pool tile is through your employment with Shoreline. Thus, not only did you
falsely identify yourself as an owner of Shoreline2 and mischaracterize the relationship (or lack
thereof) between Shoreline and Legacy, but it is clear you are still in possession of Shoreline’s
confidential information and have attempted to use that information for the benefit of yourself
and/or Legacy. This is a direct violation of your continuing confidentiality obligations owed to
Shoreline.


1
    A copy of your email to CPTS is enclosed with this letter.
2
 What is not clear at this time is whether you intended to impersonate your uncle, David Lionetti, in making this
misrepresentation.
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David A. Lionetti                                                                        May 30, 2024



        You are prohibited under applicable law from using or disclosing any confidential
information or trade secrets of Shoreline even if it is possessed solely in your memory. Moreover,
referencing Shoreline in your email and pretending to be its owner is an improper and fraudulent
abuse of Shoreline’s goodwill and other intellectual property rights. Your conduct may subject
Legacy—and you personally—to liability for, among other things, deceptive trade practices,
tortious interference with business relations and fraud.

         As I informed you in my April 22 letter, Shoreline treats seriously the unauthorized use of
its confidential information and data. Shoreline also considers the protection of its hard-won good
will and business reputation a top priority. Shoreline will not standby and allow you or Legacy to
use its confidential information or unfairly and fraudulently trade on its good will and reputation
in the industry. Any use of Shoreline’s confidential information, trade secrets, proprietary
information, good will or intellectual property by you or any third party (including Legacy, your
future companies or employers) may result in legal action and an award of injunctive
relief, monetary damages, attorney’s fees and court costs.

        Accordingly, Shoreline hereby demands that you respond to this letter in writing no later
than June 15, 2024 confirming that (i) you will not use, directly or indirectly, for your own or
anyone else’s benefit, any of Shoreline’s confidential information, trade secrets or proprietary
information, (ii) you have returned and/or deleted any and all confidential information, trade
secrets and proprietary information of Shoreline as outlined in my April 22 letter and (iii) you will
refrain from making any further statements or otherwise misrepresenting to anyone that you are
an owner of Shoreline pools or that Shoreline has any relationship with Legacy. If you fail to
comply with this demand, Shoreline is prepared to take any and all steps necessary to
protects its rights, including without limitation commencing litigation against you and/or
Legacy seeking injunctive relief and/or monetary damages.

         Shoreline reserves all rights.

                                                      Very truly yours,



                                                      Tony Miodonka
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-----Original Message-----
From: David <legacypoolrenovations@gmail.com>
Sent: Tuesday, May 28, 2024 2:34 PM
To: CPTnS Info <info@cptns.com>
Subject: Re: Message from Legacy Renovations

Hi Alaric,

Could you send me a picture of the current lot number of the similar 6x12 tile?

I am the owner of Shoreline pools out of Stamford CT which we order many products. We have branched off to a new
name called legacy.

Thanks

Dave L


                                                            1
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> On May 28, 2024, at 2:16 PM, CPTnS Info <info@cptns.com> wrote:
>
> Dave,
>
> We no longer have lot 1039-21 in the CT VE 1261 6x12 grotto rodio.
> If you want, we can send you a sample of our current lot number.
>
> Also, how did you hear about us and that specific lot number?
> We do not see that you have purchased from us in the past.
>
> Thanks,
> Alaric
>
> -----Original Message-----
> From: David <legacypoolrenovations@gmail.com>
> Sent: Tuesday, May 28, 2024 2:12 PM
> To: info@cptns.com
> Cc: legacypoolrenovations@gmail.com
> Subject: Message from Legacy Renovations
>
> Hello,
>
> I would like to purchase 9 box’s of 6” x 12” Venice grotto Rodio. Lot 1039-21
>
> Legacy Renovations & pool service Inc
> 21 Diamond Avenue, Bethel CT 06801
>
> Please provide me any forms I will need to fill out and send back to you for payments.
>
> Thank you,
> Cell-203.554.1494
> Dave L
>
>
>
>
>
>
>




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